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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION


 SECURITIES AND EXCHANGE                           Case No. SA 8:19-cv-00607-JVS-ADS
 COMMISSION,                                       The Honorable James V. Selna
                                                   Courtroom 10C
        Plaintiff,
                                                   ORDER GRANTING JOINT
 v.                                                STIPULATION TO CONTINUE TRIAL
                                                   FROM JULY 28, 2020 TO MARCH 23,
 THOMAS CARTER RONK,                               2021 AND MODIFY PRE-TRIAL
                                                   SCHEDULING ORDER
      Defendant.



        GOOD CAUSE APPEARING, IT IS ORDERED that Defendant Thomas Carter
 Ronk and Plaintiff Securities and Exchange Commission’s Joint Stipulation to Continue
 Trial is GRANTED. The Jury Trial is continued from July 28, 2020 to March 23, 2021 at
 8:30 a.m. The Pretrial Conference is continued to March 8, 2021 at 11:00 a.m. The Court
 grants the pretrial scheduling order as stated in Exhibit A to the stipulation.


 DATED:        April 01, 2020
                                         _____________________________________
                                         HONORABLE JAMES V. SELNA
                                         UNITED STATES DISTRICT JUDGE




                                               1
                                           ORDER
